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                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Richard W. Esterkin, SBN 70769
                     2   richard.esterkin@morganlewis.com
                         300 S Grand Ave Fl 22
                     3   Los Angeles CA 90071-3132
                         Tel: (213) 612-2500
                     4   Fax: (213) 612-2501

                     5   Attorneys for
                         Amazon Logistics, Inc.
                     6

                     7

                     8                                UNITED STATES BANKRUPTCY COURT
                     9                                 CENTRAL DISTRICT OF CALIFORNIA
                    10                                           LOS ANGELES DIVISION
                    11

                    12   In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                     (Jointly Administered with
                    13            SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB)
                    14                                                               Chapter 11
                                         Debtors and Debtors in
                    15                   Possession.             DECLARATION OF RICHARD W.
                                                                 ESTERKIN RE NOTICE OF HEARING
                    16   _______________________________________ ON AMAZON LOGISTICS, INC.’S
                                                                 MOTION FOR A PROTECTIVE ORDER
                    17   Affects:                                QUASHING DOCUMENT REQUESTS
                         ■ All Debtors                           AND DEPOSITION NOTICES
                    18   □ Scoobeez, ONLY                        PROPOUNDED BY HILLAIR CAPITAL
                         □ Scoobeez Global, Inc., ONLY           MANAGEMENT, LLC
                    19   □ Scoobur LLC, ONLY
                                                                 Date:    November 4, 2019
                    20                                           Time:    2:00 p.m.
                                                                 Dept.:   United States Bankruptcy Court
                    21                                                    Edward Roybal Federal Building
                                                                          255 E Temple St., Ctrm 1375
                    22                                                    Los Angeles CA 90012
                    23                                                               Judge: The Hon. Julia W. Brand
                    24

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                         1
                             The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27       Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                             Foothill Boulevard, in Glendale, California 91214.
                    28                                                           -1-                  DECLARATION OF RICHARD W.
MORGAN, LEWIS &                                                                                  ESTERKIN RE NOTICE OF HEARING RE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                AMAZON’S MOTION FOR PROTECTIVE
   COSTA MESA                                                                                                              ORDER
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                     1          I, Richard W. Esterkin, declare:

                     2          1.      I am an attorney at law, duly admitted into practice before all courts for the State

                     3   of California and the United States District Court for the Central District of California. I am a

                     4   member of the law firm of Morgan, Lewis & Bockius, LLP, counsel for Amazon Logistics, Inc.

                     5   (“Amazon Logistics”), in the above referenced matter.

                     6          2.      On November 1, 2019, I placed telephone calls to the following individuals at the

                     7   following times:

                     8                  (a)     Eric Winston, counsel for Hillair Capital Management, LLC (“Hillair”), at

                     9   10:42 a.m.;
                    10                  (b)     Jennifer Nassiri, counsel for Hillair, at 10:44 a.m.; and

                    11                  (c)     Ashley McDow, counsel for Scoobeez, Inc., at 10:46 a.m.

                    12   None of the foregoing individuals answered their phones. As a result, I left a message for each of

                    13   the foregoing individuals informing them that the Court had granted Amazon Logistics’

                    14   application for an order shortening time for notice of a hearing on its motion for a protective order

                    15   in relation to discovery served on Amazon Logistics by Hillair and that a hearing would be held

                    16   on that motion on November 4, 2019, at 2:00 p.m., in Judge Brand’s courtroom. I also stated that

                    17   I would be providing them with a copy of a written notice of the foregoing hearing and a copy of

                    18   the Court’s order shortening time, once the written notice had been filed with the Court. Finally,

                    19   I invited each of the foregoing individuals to call me, in the event that they had any questions
                    20   regarding the message that I left for them.

                    21          3.      On November 1, 2019, at 11:23 a.m., I sent an e-mail to each of Mr. Winston, Ms.

                    22   Nassiri, and Ms. McDow forwarding copies of Amazon Logistics’ notice of the hearing on its

                    23   motion for a protective order (Dkt No. 409) and the motion for a protective order (Dkt No. 405).

                    24          I declare under penalty of perjury that the foregoing is true and correct and that this

                    25   declaration was executed at Santa Monia California on November 1, 2019.

                    26
                                                                            /s/ Richard W. Esterkin
                    27                                                         Richard W. Esterkin
                    28                                                   -2-                DECLARATION OF RICHARD W.
MORGAN, LEWIS &                                                                        ESTERKIN RE NOTICE OF HEARING RE
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                      AMAZON’S MOTION FOR PROTECTIVE
   COSTA MESA                                                                                                    ORDER
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                          1

                          2
                                                           CERTIFICATE        OF SERVICE FORM
                          3
                                                               FOR ELECTRONIC          FILINGS
                          4
                                      I hereby certify that on November 1, 2019, I electronically filed the foregoing document,
                          5
                              Declaration of Richard W. Esterkin re Notice of Hearing on Amazon Logistics, Inc.'s
                          6
                              Motion for a Protective Order Quashing Document Requests and Deposition Notices
                          7
                              Propounded By Hillair Capital Management, LLC, with the Clerk of the United States
                          8
                              Bankruptcy Court, Central District of California, Los Angeles Division, using the CM/ECF
                          9
                              system, which will send notification of such filing to those parties registered to receive notice on
                         10
                              this matter.
                         11

                         12

                         13                                                 Renee Robles

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                                                                              -3-                 DECLARATION OF RICHARD W.
MORGAN, LEWIS&                                                                              ESTERKIN RE NOTICE OF HEARING RE
  BOCKIUsLLP
 AlTORNt:l'SAT    LAW                                                                       AMAZON'S MOTION FOR PROTECTIVE
    Ca;TA   MJ.-:_<;A
                                                                                                                       ORDER
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify):' Declaration of Richard W. Esterkin re Notice of
Hearing on Amazon Logistics. Inc.'s Motion for a Protective Order Quashing Document Requests and Deposition
Notices Propounded by Hillair Capital Management. LLC

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 11/01/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                        ~     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/01/2019           , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Conway MacKenzie, Inc.           Daimler Trust                   Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            c/o BK Servicing LLC            10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                   Los Angeles CA 90067
                                    Roseville MN 55113-0011

                                                                                        D Service       information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/01/2019           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        D     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/01/2019         Renee Robles                                                                        ~~
 Date                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF.SERVICE
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Richard T Baum on behalf of Stockholder Rosenthal Family Trust
rickbaum@hotmail.com, rickbaum@ecfinforuptcy.com

Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of
Unsecured Creditors jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez

and Scoobeez Global, Inc.

jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

Riebert Sterling Henderson on behalf of Interested Party Courtesy NEF
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Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
BKClaimConfirmation@ftb.ca.gov

David Brian Lally on behalf of Attorney Grigori Sedrakyan
davidlallylaw@gmail.com

David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov, dare.law@usdoj.gov

Ashley M McDow on behalf of Debtor Scoobeez

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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobeez Global, Inc.

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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
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Ashley M McDow on behalf of Debtor Scoobur LLC

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Plaintiff Scoobeez, Inc.

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
smiller@tharpe-howell.com

Kevin H Morse on behalf of Creditor Avitus Group, Inc.
kmorse@clarkhill.com, blambert@clarkhill.com

Shane J Moses on behalf of Debtor Scoobeez
smoses@foley.com

Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
smoses@foley.com

Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
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Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
Portfolio Services, LP rejoy.nalkara@americaninfosource.com

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com,
IFS_filing@buchalter.com;salarcon@buchalter.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com
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Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
hrafatjoo@raineslaw.com,
bclark@raineslaw.com;cwilliams@raineslaw.com

Gregory M Salvato on behalf of Creditor Azad Baban

gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com

Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com,
IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

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Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067
